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                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Koontz-Wagner Custom Controls Holdings LLC                                                 Case No.
                                                                                 Debtor(s)             Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Vice President, Finance of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       July 11, 2018                                            /s/ Timothy M. Howsman
                                                                      Timothy M. Howsman/Vice President, Finance
                                                                      Signer/Title




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}




    A Company Inc
    P.O. Box 410004
    Salt Lake City, UT 84141-0004




    ABF Freight Systems, Inc.
    813 W. Sample St.
    South Bend, IN 46601




    Action Glass Co, Inc.
    54978 Mayflower Rd.
    South Bend, IN 46628




    Adams Remco Inc.
    2612 Foundation Dr.
    South Bend, IN 46628




    Advanced Water Solutions
    P.O. Box 1200
    South Bend, IN 46624-1200




    Advantage Interests, Inc.
    7840 W. Little York
    Houston, TX 77040




    Aeroacoustic Engineering Consultants, LL
    8014 Olson Hwy., #210
    Minneapolis, MN 55427-4712




    AG Equipt. Inc
    414 N Kit Ave.
    Caldwell, ID 83605
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Agility Project Logistics, Inc.
P.O. Box 844718
Dallas, TX 75228




Air Filters, Inc.
8282 Warren Rd.
Houston, TX 77040




Airgas Intermountain, Inc
P.O. Box 7430
Pasadena, CA 91109




Airgas USA, LLC
P.O. Box 802576
Chicago, IL 60680-2576




Airgas USA, LLC
P.O. Box 676015
Dallas, TX 75267




Airgas USA, LLC (South)
P.O. Box 532609
Atlanta, GA 30353




All Phase Electric Supply Co.
1385 Bendix Dr.
South Bend, IN 46628




Allegheny Steel Distributors, Inc.
P.O. Box 645363
Pittsburgh, PA 15264-5363
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Allegiance Crane & Equipment, LLC
P.O. Box 534687
Atlanta, GA 30353-4687




Allegis Corporation
P.O. BOx 851354
Minneapolis, MN 55449-0007




Allied Electronics
Attn: A/R Dept.
P.O. Box 2325
Fort Worth, TX 76113-2325



Allied Electronics
P.O. Box 2325
Fort Worth, TX 76113-2325




Alpha Process Sales, Inc.
12850 E. Bournewood Dr.
Sugar Land, TX 77478




Alpha Threaded Products Inc.
6426 Long Dr.
Houston, TX 77087




Alro Steel
1775 Foundation Dr.
Niles, MI 49120




ALTA Equipment Company, Inc.
25538 Network Place
Chicago, IL 60673-1255
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Always Safety & 1st Aid, Inc.
P.O. Box 1407
Alvin, TX 77512




American Fire Technologies, LLC
2120 Capital Dr.
Wilmington, NC 28405




American Safety & First Aid
P.O. Box 59
Osceola, IN 46561




AmeriGas
P.O. Box 7155
Pasadena, CA 91109




Ametek-Soildstate Controls
875 Dearborn Dr.
Columbus, OH 43085




Anheuser Marketing, Inc.
6941 Peachtree Industrial Blvd.
Norcross, GA 30092




Anixter Bros. Inc.
P.O. Box 847428
Dallas, TX 75284




Anixter, Inc.
P.O. Box 842591
Dallas, TX 75284-2591
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Apollo Printing & Graphics
731 S. Michigan St.
South Bend, IN 46601




ASCO Power Technologies, LP
P.O. Box 73473
Chicago, IL 60673-7473




ATEX Distributing, Inc
2900 W. Orange Ave., #130
Apopka, FL 32703




ATLAS BOLT & SUPPLY, INC.
3217 Rossville Blvd.
Chattanooga, TN 37408




Atlas Supply, Inc
611 S. Charlestown St.
Seattle, WA 98108




ATS Specialized, Inc.
P.O. Box 1450
Minneapolis, MN 55485-7130




Austin Hardware & Supply, Inc
Dept. CH 19373
Palatine, IL 60055




Barton Mines, LLC
Barton Mines Company, LLC
P.O. Box 62516
Baltimore, MD 21264-2516
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Bennett Machine & Welding Works
512 Main St.
Caldwell, ID 83605




Best One Tire & Service of South Bend
2014 E. McKinley Ave.
Mishawaka, IN 46545




Betenbender Mfg, Inc.
P.O. Box 140
Coggon, IA 52218




Bisco Industries Inc
4424 S. 700 S., #120
Salt Lake City, UT 84107




Boise Calibration Service, Inc
7482 W. Lemhi St.
Boise, ID 83709




Boise Rigging Supply, Inc.
P.O. Box 16627
Boise, ID 83715




Boling Vision Center, LLC
2746 Old US 20 W, Suite B
Elkhart, IN 46514




Bonita Cleaning Service
21543 Sullivan Forest Dr.
Porter, TX 77365
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Bonneville Industrial Supply Co
P.O. Box 51328
Idaho Falls, ID 83405-1328




Branom Instrument Co
P.O. Box 80307
Seattle, WA 98107




Brown Strauss Steel Inc.
P.O. Box 16450
Salt Lake City, UT 84116




Brucker Company, Inc.
1200 Greenleaf Ave.
Elk Grove Village, IL 60007-5519




C&R Sales and Repairing, Inc.
P.O. Box 1859
Red Oak, TX 75115




CA Dept of Tax & Fee Administration
P.O. Box 942879
Sacramento, CA 94279




California Dynamics Corp
5572 Alhambra Ave.
Los Angeles, CA 90032




California Franchise Tax Board
P.O. Box 942857
Sacramento, CA 94257-0500
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Canyon Logistics
P.O. Box 55
Humble, TX 77365




Capitol Environmental
P.O. Box 150056
Austin, TX 78715




Cardinal Pump
12154 Lackland Rd.
Saint Louis, MO 63146




Catepillar Financial Services Corp.
2120 West End Ave.
Nashville, TN 37203




Caterpillar Financial Services Corporati
P.O. Box 730669
Dallas, TX 75373-0669




Isaac B. Centeno
10706 Cora St., #78
Houston, TX 77088




Center Lane Partners
60 E. 42nd St., #1250
New York, NY 10165




Centerpoint Energy Services, Inc.
P.O. Box 301149
Dallas, TX 75303-1149
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Certif-A-Gift Co.
P.O. Box 66210
Chicago, IL 60666




CGED
15/17 bvd Charles De Gaulle
Montrouge, CA 92120




Chassis King
1016 Ponce de Leon Blvd.
Clearwater, FL 33756




Chattanooga Gas
P.O. Box 5408
Carol Stream, IL 60197-5408




Clean Seal, Inc.
P.O. Box 2919
South Bend, IN 46680-2919




Cleaveland/Price Inc.
14000 Rt. 993
Trafford, PA 15085-9550




Clemtex II
248 McCarty
Houston, TX 77029




Clover Associates, Inc.
d/b/a Clover Machinery Movers
1906 Clover Road
Mishawaka, IN 46545
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Coffee Time
55645 Currant Rd., #4
Mishawaka, IN 46545




CoFlex, Inc.
851 Rt. 6
Shohola, PA 18458




Columbia Electric Supply
P.O. Box 1120
Vancouver, WA 98666




Commercial Air Solutions
P.O. Box 23564
Chattanooga, TN 37422




Commercial Door & Hardware
22578 FM 365
Beaumont, TX 77705




Concur - ACH
62157 Collections Center Dr.
Chicago, IL 60693




Container Management Inc
8500 E. 116th St.., #607
Fishers, IN 46038




Coosa Steel Corporation
P.O. Box 187
Rome, GA 30162
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Crawford Electric Supply Co., Inc.
P.O. Box 847160
Dallas, TX 75284-7160




CSI Heavy Haul
24015 Interstate 10
Wallisville, TX 77597




Cummins Rocky Mtn
8949 S. Federal Way
Boise, ID 83716




CWB Group-Industry Services
P.O. Box 46035 Postal Station A
Toronto, ON




D&B Supply
3303 E. Linden
Caldwell, ID 83605




Dave & Tom of Idaho, LLC
P.O. Box 97
Caldwell, ID 83606




Dave & Tom of Idaho, LLC
2259 Haw Creek Cir.
Emmett, ID 83617




Dave & Tom, LLC
2259 Haw Creek Cir.
Emmett, ID 83617
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DeFelsko Corporation
800 Proctor Ave.
Ogdensburg, NY 13669-2205




Deka Battery
1920 N. Kenmore St.
South Bend, IN 46628




Delta Management
52733 Willow Bend Dr.
OH 45530-7472




Delta Management Company, LLC
52733 Willowbend Dr.
Granger, IN 46530




Deluxe Sheet Metal Inc.
6561 Lonewolf Dr., #100
South Bend, IN 46628




Denton Enterprises
5615 Meadow Ct.
Nampa, ID 83687




Department of Labor
402 W. Washington St., RM. W195
Indianapolis, IN 46204




Department of Labor
900 Georgia Ave., #15
Chattanooga, TN 37402
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DEQ State Office
1410 N. Hilton
Boise, ID 83706




Dex West
P.O. Box 79167
Phoenix, AZ 85062




DHL Express (USA) Inc.
16592 Collections Center Dr.
Chicago, IL 60693




Dominion Building PRoducts
P.O. Box 642184
Pittsburgh, PA 15264-2184




Dynalectric Company
5711 SW Hood Ave.
Portland, OR 97239




Eaton Corporation
P.O. Box 93531
Chicago, IL 60673




Echo Global Logistics
22168 Network Pl.
Chicago, IL 60673-1221




Eichstedt Manufacturing, Inc.
23030 W. Ireland Rd.
South Bend, IN 46614-4414
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EIS, Inc.
P.O. Box 1347
Elmhurst, IL 60126




Electrical Wholesale Supply, Inc
P.O. Box 51980
Idaho Falls, ID 83405




Engineered Air C/O Commerce Bank
P.O. Box 801618
Kansas City, MO 64108-1618




ENI Labs
3120 Independence Dr.
Fort Wayne, IN 46808




Environmental Safety Products
700 W. 6th St.
Michigan City, IN 46360




EPB Electric Power
Attn: Remittance Processing (power)
P.O. Box 182254
Chattanooga, TN 37422



Estes Express Lines, Inc.
P.O. Box 25612
Richmond, VA 23260-5612




Examinetics, Inc
10561 Barlkey Pl., #400
Overland Park, KS 66212
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Executive Personnel Services, Inc.
P.O. Box 56346
Atlanta, GA 30343




Express Personnel Services
5616 NW 135th, Suite A
Oklahoma City, OK 73142




Farwest Corrosion Control Co.
3825 Paris St.
Denver, CO 80239




Farwest Steel Corporation
P.O. Box 1026
Eugene, OR 97440




Fastenal Company
P.O. Box 1286
Winona, MN 55987-1286




Fastenal Company, Inc.
P.O. Box 1286
Winona, MN 55987




Fasteners, Inc. (Colony Hardware Corp.)
29276 Network Place
Chicago, IL 60673-1292




Ferguson Enterprises, Inc.
FEI #420
P.O. Box 802817
Chicago, IL 60680-2817
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Filnor Inc.
227 N. Freedom Ave.
Alliance, OH 44601




Finish Master Inc.
115 W. Washington St., #700S
Indianapolis, IN 46204




Fishers Technology
575 E. 42nd St.
Garden City, ID 83714




Flame Seal Products, Inc.
15200 West Dr.
Houston, TX 77053




Fluid Connector Products
8432 Solution Center
Chicago, IL 60677




Foam Kote, Inc.
1102 Minnesota St.
South Houston, TX 77587




Foundation Building Materials
Home Acres Building Supply Co., LLC
6872 Paysphere Circle
Chicago, IL 60674



FSS Security. LLC
P.O. Box 1204
Houston, TX 77251
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G&H Diversified Mfg, LP
11660 Briitmoore Park Dr.
Houston, TX 77041




G.W. Berkheimer Co.
P.O. Box 1247
Portage, IN 46368-9047




Gale Contractor Services
2908 Brandt Ave.
Nampa, ID 83687




GEXPRO - Atlanta
P.O. Box 742833
Atlanta, GA 30374-2833




Gould & Ratner LLP
222 N. LaSalle St., #800
Chicago, IL 60601




GP South LLC
129 N. 10th St., Capitol Hall
Lincoln, NE 68508




GP South, LLC
129 N. 10th St.
Capitol Hall
Lincoln, NE 68508



Gravograph-New Hermes
P.O. BOx 530103
Drawer No GA00086
Atlanta, GA 30353-0103
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Graybar Electric Co., Inc.
12431 Collections Dr.
Chicago, IL 60693




Great America Financial Services Group
P.O. Box 660831
Dallas, TX 75266-0831




GreatAmerica Financial Services Corp.
P.O. Box 660831
Dallas, TX 75266-0831




Green Distributors, Inc.
P.O. Box 58
Bloomingdale, IL 60108




Griffen P&H, Inc.
2310 Toledo Rd.
Elkhart, IN 46516




Grimes Industrial, Inc.
929 E. Main St.
Tomball, TX 77375




Harco Manufacturing Co
1000 Industrial Pkwy.
Newberg, OR 97132




Hatchell & Associates
414 W. Fullerton Ave.
Elmhurst, IL 60126
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Hevi-Haul International, LTD
P.O. Box 580
Menomonee Falls, WI 53052




Hoosier Crane Service Co.
2423 Lowell St.
Elkhart, IN 46516




Hudson Building Systems
10412 Rockley Rd.
Houston, TX 77099




HYG Financial Services Inc.
P.O. Box 14545
Des Moines, IA 50306-3545




Hypertherm, Inc
21 Great Hollow Rd.
Hanover, NH 03755




Idaho Dept. of Labor
4514 Thomas Jefferson st.
Caldwell, ID 83605




Idaho Environmental Services, LLC
d/b/a IES Waterowkrs
P.O. Box 231
Notus, ID 83656



Idaho Freight Connection, LLC
P.O. Box 357
Homedale, ID 83628
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Idaho Mobile Equipment
26003 Kingsbury Rd.
Middleton, ID 83644




Idaho State Tax Commission
P.O. Box 36
 81722-0410




Idaho Tank & Culvert, Inc
724 Taylor Ave.
Meridian, ID 83642




Idaho Tool
452 Caldwell Blvd.
Nampa, ID 83651




Illinois Dept. of Revenue
James R. Thompson Center - Concourse
100 West Randolph St.
Chicago, IL 60601-3274



Impact, lnc.
P.O. Box 88068
Seattle, WA 98138




Indiana Dept of Revenue
105 E. Jefferson Blvd., #350
South Bend, IN 46601




Indiana Dept. of Environmental Mgmt.
100 N. Senate Ave.
Indianapolis, IN 46204
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Indiana Michigan Power
P.O. Box 24412
Canton, OH 44701-4412




Industrial Climate Engineering (ICE)
P.O. Box 6407
Carol Stream, IL 60197-6407




Industrial Door of Northern Indiana
3839 S. Main St.
South Bend, IN 46614-2521




Industrial Metal Fab, Inc.
2806 W. Sample St.
South Bend, IN 46619-3299




Industrial Products Corporation
119 S. Sherrin Ave., #120
Louisville, KY 40207




Industrial Realty Group
11100 Santa Monica Blvd., #850
Los Angeles, CA 90025




Intermountain Gas Company
P.O. Box 5600
Bismarck, ND 58506-5600




Internal Revenue Service
P. O. Box 7346
Philadelphia, PA 19101-7346
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Interstate Industrial Services Mgmt, LLC
4201 Langley Rd.
Houston, TX 77093




Intertek Testing Services NA Inc
P.O. Box 405176
Atlanta, GA 30384




Irrevocable Trust of Thomas J. Snow
c/o Nancy Snow Evitt
9204 Hopi Trail
Ooltewah, TN 37363



Ivy Tech Community College
220 Dean Johnson Blvd.
South Bend, IN 46601




J & G Supply Inc.
P.O. Box 902
La Porte, IN 46352




J M Test Systems, Inc.
P.O. Drawer 45489
Baton Rouge, LA 70895




JDM Steel Service, Inc.
8581 Solution Center
Chicago, IL 60677-8005




Johnson Supply
10151 Stella Link
Houston, TX 77025
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JSW Properties, LLC
120 Nowlin Ln.
Chattanooga, TN 37421




K-wood Products Co.
25785 State Rd. 2
South Bend, IN 46619




Kasten Blasting & Coatings, LLC
8065 Cox's Dr.
Portage, MI 49002




KC Auto Paint and Supplies, Inc.
811 2nd St. South
Nampa, ID 83651




Kele Solutions
P.O. Box 842545
Dallas, TX 75284-2545




Kim Hotstart Mfg. Co.
P.O. Box 11245
Spokane, WA 99211




Kingman Storage, LLC
2740 W. Lexington Ave.
Elkhart, IN 46514




Kirby-Risk Electric Supply
27561 Network Pl.
Chicago, IL 60673-1275
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Kloeckner Metals Corporation
500 Colonial Center Pkwy., #500
Roswell, GA 30076




KMH Systems, Inc.
P.O. Box 575
Northbrook, IL 60065




Koontz-Wagner Construction Services, LLC
3801 Voorde Dr., Suite B
South Bend, IN 46628




Krueger Sentry Gauge
1873 Siesta Ln.
Green Bay, WI 54313




Labor of Love Cleaning Service
809 Claire St.
Rossville, GA 30741




Land O' Lakes
P.O. Box 840897
Dallas, TX 75284-0897




Landstar Inway, Inc.
12793 Collections Center Dr.
Chicago, IL 60693




Lennon Crane and Equipment Co.
17131 Beaton Rd. SE
Monroe, WA 98272
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Leonard Petroleum Equipment
P.O. Box 170219
Boise, ID 83717




Letters Express Inc.
d/b/a Worldwide Express
29228 Network Pl
Chicago, IL 60673



Lightning Master Corporation
P.O. Box 6017
Clearwater, FL 33758-6017




Lord Construction Services, LLC
P.O. Box 363408
San Juan, PR 00936-3408




Madison
27 Business Park Dr.
Branford, CT 06405




Mainfreight, Inc.
1400 Glenn Curtiss St.
Carson, CA 90746




Marathon Special Products
P.O. Box 468
Bowling Green, OH 43402




Maria Mittiga
26142 Twin Lakes Trail
South Bend, IN 46628
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Martell Electric, LLC
P.O. Box 3965
South Bend, IN 46619




Marvair, A Division of Airxcel, Inc.
P.O. Box 6407
Carol Stream, IL 60197-6407




Material Control, Inc.
P.O. Box 168
Croswell, MI 48422




Maxim Crane Works, LP
Lockbox #774389
4389 Solutions Center
Chicago, IL 60677-4003



MC Supply & Service Inc.
3907 Marvihill
Valparaiso, IN 46383




McCall Industrial
P.O. Box 15427
Boise, ID 83715




McMaster-Carr Supply Company
P.O. Box 7690
Chicago, IL 60680-7690




Meitec, Inc.
2800 Veterns Blvd., #260
Metairie, LA 70002
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Mersen
P.O. Box 7247-6444
Philadelphia, PA 19170-6444




Metalworking Machine Systems, Inc.
500 N. Nappanee St., Suite 5A
Elkhart, IN 46514




Metamation, Inc
1465 Terminal Way, #2
Reno, NV 89502




Metro Fabricating, LLC.
1650 Tech Dr.
Bay City, MI 48706




Michigan Department of Treasury
Lansing, MI 48922




Michigan Dept of Licensing
and Regulatory Affairs
P.O. Box 30004
Lansing, MI 48909



Michigan Dept. of Treasury
Lansing, MI 48922




Microclean, Inc
1720 Industrial Rd.
Nampa, ID 83687
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Mid-States Bolt & Screw Co., Inc.
P.O. Box 2050
Flint, MI 48501-2050




Midwest Fire Protection Co. Inc.
26436 W. US 12
P.O. Box 279
Sturgis, MI 49091



Miller Hydraulic Service
2810 S. Main St.
P.O.Box 2732
South Bend, IN 46614



Maria Mittiga
26142 Twin Lakes Trail
South Bend, IN 46628




Morrison Bros Inc
P.O. Box 238
Dubuque, IA 52004




Mountain High Shredding Inc.
13790 Creston St.
Mishawaka, IN 46544




Mountain View Engineering, Inc
345 N. Main St., Suite A
Brigham City, UT 84302




MSC Industrial Supply Co., Inc
Dept. CH 0075
Palatine, IL 60055-5075
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MTI
30836 CR 8
Elkhart, IN 46514




N.W. Crane Service, Inc.
P.O. Box 88
Hermiston, OR 97838




NAPA
2221 Cleveland
Caldwell, ID 83605




NATCON (National Consolidated Corp)
25855 State Rd. 2
South Bend, IN 46619




Nelson Fuel, Inc.
1511 S. Olive St.
South Bend, IN 46619




New Mexico Taxation & Revenue Dept.
P.O. Box 8485
Albuquerque, NM 87198-8485




New York State Dept of Taxation
and Finance
Attn: Office of Counsel, Bldg. 9
W A Harriman Campus
Albany, NY 12227


Newark
33190 Collection Center Dr.
Chicago, IL 60693-0331
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Nitro Environmental LLC
3011 Hwy. 30 W., #101-121
Huntsville, TX 77340




NMHG Financial Services
10 Riverview Dr.
Danbury, CT 06810




Nolan Power Group, LLC
P.O. Box 54986
New Orleans, LA 70154




Norbryhn Equipment Co.
3711 Newby St.
Nampa, ID 83687




Norco
P.O. Box 413124
Salt Lake City, UT 84141-3124




Norman Perry Trophies & Engraving
244 S. Olive St.
South Bend, IN 46619-2106




O'Neal Flat Rolled Metals
P.O. Box 951858
Dallas, TX 75395




O'Neal Industries
P.O. Box 934243
Atlanta, GA 31193-4243
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Office Depot, Inc
P.O. Box 633204
Cincinnati, OH 45263-3204




Ohio Dept. of Taxation
30 E. Broad St. 21st Fl.
Columbus, OH 43215




Oil Service, Inc
3498 Grand Ave.
Pittsburgh, PA 15225-1508




OJS Building Services, Inc.
P.O. Box 418
South Bend, IN 46624-0418




OnSite Services, LLC
P.O. Box 190574
Boise, ID 83719




Oregon Dept. of Consumer Business
Revenue Services Station
PO Box 14610
Salem, OR 97309



Orr Safety Equipment
1266 Reliable Pkwy.
Chicago, IL 60686




Oscilloscope Services, Inc.
7827 Kingsley St.
Houston, TX 77087
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OSHA
690 S Loop 336 West, #400
Conroe, TX 77304




Overhead Door Co Of South Bend
58745 Executive Drive
P.O. Box 907
Mishawaka, IN 46546-0907



Overhead Door Company of Houston
11533 S. Main St.
Houston, TX 77025




Pacific Steel
1900 20th St. North
PO Box 530
Nampa, ID 83653



Panache Engineering
150 N. Santa Anita Ave., #300
Arcadia, CA 91006




Pearman Contracting, LLC.
P.O. Box 14
Greenleaf, ID 83662




PEI Engineering Services, Inc.
58640 State Rd. 15
Goshen, IN 46528




Pennsylvania Dept. of Revenue
P.O. Box 280905
Harrisburg, PA 17128-0905
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Per Mar Security Services
P.O. Box 1101
Davenport, IA 52805-1101




Performance Plus
The Performance Companies, Inc.
PO Box 10846
Merrillville, IN 46411



Petrol Services
219 W. 40th St.
Garden City, ID 83714




Phoenix Fastener and Supply Inc
15219 Stuebner Airline Rd., #33
Houston, TX 77069




Phoenix Metal
P.O. Box 932589
Atlanta, GA 31193-2589




Phoenix Tires
P.O. Box 983
Friendswood, TX 77549




Platt
P.O. Box 418759
Boston, MA 02241-8759




PPG Architectural Finishes, Inc.
19053 Interstate 45, Suite C
Conroe, TX 77385
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Praxair Distribution Inc
Dept. 0812
PO Box 120812
Dallas, TX 75312-0812



Praxair Distribution, Inc.
Dept CH 10660
Palatine, IL 60055-0660




Preferred Shipping Inc
12835 Jess Pirtle Blvd.
Sugar Land, TX 77478




Primary Engineering, Inc.
P.O. Box 3664
Carmel, IN 46082




Primary Health
10482 W. Carlton Bay Dr.
Garden City, ID 83714-5143




Primax Technologies, Inc.
65 Hymus Blvd.
Pointe-Claire, Quebec




Pro Industries, Inc
206 Varner Dr. SW
Mc Donald, TN 37353




Professional Welding Supply
P.O. Box 19811
Houston, TX 77024-9811
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Proservcrane & Equipment, Inc.
P.O. Box 670965
Houston, TX 77267-0965




Proshred of Houston
12703 Capricorn Dr., #100
Stafford, TX 77477




Punch Press and Shear
8 Ellis Rd.
League City, TX 77573




R.W. Little & Associates
P.O. Box 171
Brimfield, IL 61517




Rackmount Solutions, LTD
P.O. Box 451537
Garland, TX 75045-1537




Rain Mizer Gutters
5606 Rocky Trail Dr.
Kingwood, TX 77339




Rapid Electroplating Process
1603 S. Michigan Ave.
Chicago, IL 60616-1209




RC Industries, Inc.
555 County Rd. 15
Elkhart, IN 46516-9784
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Recycling & Waste Reduction
8001 Boat Club Rd., Suite B
Fort Worth, TX 76179




Red-D-Arc Welderentals
P.O. Box 532618
Atlanta, GA 30353




Ricoh Usa, Inc
13430 Northwest Frwy., #500
Houston, TX 77040




River Bend Hose Specialty
1111 S. Main
South Bend, IN 46601-3398




RMS Energy Co., LLC
1900 E. 66th Ave.
Denver, CO 80229




Root Rents
2602 Cleveland Blvd.
Caldwell, ID 83605




Royal Cup Coffee
P.O. Box 170971
Birmingham, AL 35217




RST Inc
P.O. Box 357
Homedale, ID 83628
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Russell Products Inc.
710 Commerce Dr.
Bristol, IN 46507




Safety Wear LTD
P.O. Box 2904
Orange, TX 77631




Safety-Kleen
P.O. Box 650509
Dallas, TX 75265-0509




Safety-Kleen
P.O. Box 382066
Pittsburgh, PA 15250-8066




SAIA Motor Freight Line, LLC
11465 Johns Creek Pkwy., #400
Johns Creek, GA 30097




Samuel, Son & Co. Inc. MW Division
5022 Ashley Ct.
Houston, TX 77041




Sherwin Williams
3210 Nimitz Pkwy.
South Bend, IN 46628-1643




Sherwin Williams (south)
1315 E. 23rd St.
Chattanooga, TN 37404
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Shred-it USA - Knoxville
P.O. Box 13574
Newark, NJ 07188-3500




Siemens Financial Services
301 Lindenwood Ave., #215
Malvern, PA 19535




Siemens Financial Services
170 Wood Ave. South
Iselin, NJ 08830




Siemens Industry, Inc.
P.O. Box 2715
Carol Stream, IL 60132




SmartSign
300 Cadman Plaza W., #1303
Brooklyn, NY 11201




Snow Evitt Partnership
c/o Nancy Snow Evitt
9204 Hopi Trail
Ooltewah, TN 37363



South Bend Tribune
225 W. Colfax Ave.
South Bend, IN 46626




Southern Auto Body Supply
1823 Rossville Ave.
Chattanooga, TN 37408
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St. Joseph Paper & Packaging
P.O. Box 3908
South Bend, IN 46619-0908




Stanz Food Service, Inc.
P.O. Box 24
South Bend, IN 46624-0024




Staples
P.O. Box 105638
Atlanta, GA 30348-5638




State of Idaho
Department of Water Resources
2735 Airport Way
Boise, ID 83705-5082



Steinhoffer Scale Co., Inc
55645 Currant Rd.
Mishawaka, IN 46545




Sterling Battery Co
P.O. Box 4947
Boise, ID 83711




Storage Battery Systems, LLC
N56 W16665 Ridgewood Dr.
Menomonee Falls, WI 53051




Strata
8653 W. Hackamore Dr.
Boise, ID 83709
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Structural Edge Engineering
5509 N. Glenwood St.
Garden City, ID 83714




Summit Contractor Supply, Inc.
25453 State Rd. 2
South Bend, IN 46619




Sunscapes, Inc.
13740 Range Line Rd.
Niles, MI 49120




Superior Paint & Glass
315 Cleveland Blvd.
Caldwell, ID 83605




Suprahelio Consulting LLC/Aaron Alexande
13303 E. Lakeview Rd.
Glencoe, OK 74032




Tacoma Screw Products, Inc.
P.O. Box 35165
Seattle, WA 98124-5165




Taylor Brothers Fire & Safety, Inc
P.O. Box 16351
Boise, ID 83715




TBS Trucking - T Boys and Sons Trucking,
P.O. Box 2851
Houston, TX 77252
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TDS Door Company
27992 West IL Hwy. 120, Unit 132
Lakemoor, IL 60051




Team Consulting, Inc
516 E. Marion St.
Mishawaka, IN 46545




Tennessee American Water
P.O. Box 371880
Pittsburgh, PA 15250




Tennessee Dept. of Revenue
David Gerregano
500 Deaderick St.
Nashville, TN 37242



Tennessee Galvanizing, Inc
P.O. Box 4539
Chattanooga, TN 37405




Terracon Consultants, Inc
P.O. Box 843358
Kansas City, MO 64184-3358




Texas Comptroller of Public Accounts
P.O. Box 13528, Capitol Station
Austin, TX 78711-3528




Texas Department of Licensing and Regula
P.O. Box 12157
Austin, TX 78711
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Texas Workforce Commission
17517 State Hwy. 249
Houston, TX 77064-1012




Chris Thate
7711 Dashwood Dr.
Houston, TX 77036




THB,Inc
95 North 400 West
North Salt Lake, UT 84054




The Dillon Group Inc.
1117 E. Plaza Dr.
Eagle, ID 83616-6531




The Dillon Group, Inc.
1117 E. Plaza Dr.
Eagle, ID 83616-6531




The Exit Store
303 W. Lancaster Ave., #138
Wayne, PA 19087




The Filter Factory, Inc.
P.O. Box 1797
Santa Ynez, CA 93460




The Sign Center
11473 W. Fairview Ave.
Boise, ID 83713
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The Sign Shoppe
3610 E. Cleveland
Caldwell, ID 83605




Frank P. Tirotta
23166 Brick Rd.
South Bend, IN 46628




Titus Manugacturing
9887 E. 6B Rd.
Plymouth, IN 46563




Tour Ice of Ontario
359 SE 2nd St.
Ontario, OR 97914




TQS, Inc
14610 Sheraton
Houston, TX 77039




Trainers Over Texas, Inc.
2914 Dunnbrook Dr.
Seagoville, TX 75159




Trans United, Inc.
Marquette Transportation Finance, Inc.
NW 7939
PO Box 1450
Minneapolis, MN 55485-7939


Treasure Valley Coffee
11875 President Dr.
Boise, ID 83713
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Tri-State Electrical Contractors, LLC
2101 Fort St.
Chattanooga, TN 37408




Trinity Logistics, Inc
P.O. Box 62702
Baltimore, MD 21264




TTI Oil - Texas INE, Inc
6438 Long Dr.
Houston, TX 77087




Turnstone EH&S, Inc.
1322 Space Park Dr., Suite C-139
Houston, TX 77058




TUV Rheinland Industrial Solutions Inc.
P.O. Box 417532
Boston, MA 02241-7532




TW Telecom
c/o Level 3 communications, LLC
P.O. Box 910182
Denver, CO 80291



Twelco, Inc
7411 Wright Rd.
Houston, TX 77041




TX Commission on Environmental Quality
P.O. Box 13087
Austin, TX 78711-3087
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Uline
2200 S. Lakeside Dr.
Waukegan, IL 60085




Underwriters Laboratories Inc.
P.O. Box 75330
Chicago, IL 60675-5330




UniFirst Corporation
3920 Crescent Cir.
South Bend, IN 46628




Unishippers
P.O. Box 1120
Meridian, ID 83680




United Coatings Technologies
1011 S. Main St.
South Bend, IN 46601




United Oil
P.O. Box 160
Caldwell, ID 83606-0610




United Rentals
P.O. Box 100711
Atlanta, GA 30384-0711




United Rentals Northwest, Inc
File 51122
Los Angeles, CA 90074
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US Environmental Protection Agency
1200 Pennsylvania Ave.
Washington, DC 20460




US HealthWorks Medical Group of Indiana
P.O. Box 404480
Atlanta, GA 30384-4480




USI Inc.
P.O. Box 4105
Woburn, MA 01888-4105




Vanguard Fire & Security Systems, Inc.
P.O. Box 9218
Wyoming, MI 49509




Velocity Business Products, Inc.
335 Pennbright Dr., #130
Houston, TX 77090




VFP Fire Systems
P.O. Box 74008409
Chicago, IL 60674-8409




Victor Insulators, Inc.
280 Maple Ave.
Victor, NY 14564




W.W. Grainger, Inc.
Dept. 810568832
Palatine, IL 60038-0001
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Washington State Dept. of Revenue
P.O. Box 47464
Olympia, WA 98504-7464




WCS Quality Registrars, LLC
P.O. Box 940637
Houston, TX 77077




Weld Force Solutions, LLC
12518 Foxton Rd.
Houston, TX 77048




Wells Fargo
90 S. 7th St., 16th Fl.
Minneapolis, MN 55479




Wells Fargo Credit Card
420 Montgomery St.
San Francisco, CA 94104




WESCO Distribution. Inc.
7049 Brookhollow West Dr.
Houston, TX 77040




Western Specialties Inc
5265 N. Sawyers Ave.
Boise, ID 83714




Westowns Disposal Inc
P.O. Box 754
Homedale, ID 83628
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Wiley Road Industrial Park, L.P.
3801 Voorde Dr.
South Bend, IN 46628




Williams Industrial Services Group Inc
400 E. Las Colinas, #400
Irving, TX 75039




Williams Industrial Services Group LLC
100 Crescent Centre Pkwy., #1240
Tucker, GA 30084




Workforce Corp Health
P.O. Box 189
Chattanooga, TN 37403




Working Persons Store
1608 Commerce Dr.
South Bend, IN 46628




Yale Carolinas
9839 South Tryon
Charlotte, NC 28273




ZFA Structural Engineers
1212 Fourth St., Suite Z
Santa Rosa, CA 95404
